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                                            PUBLISHED

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                           No. 16-1497


        SCOTTSDALE CAPITAL ADVISORS CORPORATION;               JOHN   J.   HURRY;
        TIMOTHY B. DIBLASI; DARREL MICHAEL CRUZ,

                             Plaintiffs – Appellants,

                       v.

        FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.,

                             Defendant – Appellee.

        -----------------------------------

        SECURITIES AND EXCHANGE COMMISSION,

                             Amicus Supporting Appellee.



        Appeal from the United States District Court for the District of
        Maryland, at Greenbelt.    Deborah K. Chasanow, Senior District
        Judge. (8:16-cv-00860-DKC)


        Argued:       October 28, 2016                  Decided:    December 20, 2016


        Before MOTZ, KING, and DUNCAN, Circuit Judges.


        Affirmed by published opinion. Judge Duncan wrote the opinion,
        in which Judge Motz and Judge King joined.


        ARGUED: Jonathan S. Franklin, NORTON ROSE FULBRIGHT US LLP,
        Washington, D.C., for Appellants.       Timothy Wilson Mountz,
        FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC., Washington, D.C.,
        for Appellee.     Martin V. Totaro, SECURITIES AND EXCHANGE
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        COMMISSION, Washington, D.C., for Amicus Curiae.      ON BRIEF:
        John W. Akin, NORTON ROSE FULBRIGHT US LLP, Washington, D.C.,
        for Appellants.   Terri L. Reicher, Office of General Counsel,
        FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC., Washington, D.C.,
        for Appellee.     Anne K. Small, General Counsel, Sanket J.
        Bulsara, Deputy General Counsel, Michael A. Conley, Solicitor,
        Dominick V. Freda, Senior Litigation Counsel, Josephine T.
        Morse, Office of the General Counsel, SECURITIES AND EXCHANGE
        COMMISSION, Washington, D.C., for Amicus Curiae.




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        DUNCAN, Circuit Judge:

              Scottsdale Capital Advisors Corporation and three of its

        current       and    former      officers       (collectively,          “Scottsdale”)        are

        respondents         in   an     ongoing       disciplinary        proceeding     before      the

        Financial         Industry       Regulatory         Authority,      Inc.      (“FINRA”)      for

        allegedly         selling       unregistered          securities        in    violation       of

        Section       5    of    the    Securities          Act   of    1933,    15    U.S.C.      § 77e

        (“Securities Act”) and FINRA Rule 2010.                           Before FINRA completed

        its   proceedings,             Scottsdale      sought      an   injunction       in   federal

        district court, claiming the FINRA proceeding is unauthorized

        because FINRA may only discipline members for violations of the

        Securities          Exchange      Act    of    1934,      15    U.S.C.     § 78a,     et    seq.

        (“Exchange        Act”).         The    district      court     dismissed      for    lack    of

        subject-matter           jurisdiction         and    Scottsdale      appeals.         For    the

        reasons that follow, we affirm.



                                                        I.

                                                        A.

              Congress, through the Exchange Act, delegated the power to

        register          national         securities             associations         (“RSAs”        or

        “associations”)           to     the     Securities         and     Exchange      Commission

        (“SEC”).          Pursuant to this authority, the SEC registered FINRA




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        as an RSA. 1       FINRA, comprised of financial brokers and dealers,

        promulgates rules to enforce broker-dealer compliance with the

        Exchange Act, “the rules and regulations thereunder . . . and

        the rules of the association.”            15 U.S.C. § 78o-3(b)(2).

              Despite      FINRA’s    seemingly    broad   power,   Congress   mandated

        that the SEC exercise close supervision over the association.

        Before any FINRA rule goes into effect, the SEC must approve the

        rule and specifically determine that it is consistent with the

        purposes of the Exchange Act.             Id. §§ 78o-3(b)(6), 78s(b)(2)(C).

        The SEC may also amend any existing rule to ensure it comports

        with the purposes and requirements of the Exchange Act.                      Id.

        § 78s (b)(1), (c).



                                                  B.

              The Exchange Act sets out the process by which FINRA may

        initiate disciplinary proceedings, which is codified in FINRA’s

        Code of Procedure.           15 U.S.C. § 78o-3(h); FINRA Rule 9000, et




              1 FINRA, a private not-for-profit corporation, is the
        successor organization to the National Association of Securities
        Dealers, Inc. (“NASD”). In 2007, NASD merged with the New York
        Stock Exchange’s regulation committee to form FINRA.          See
        Notice, 72 Fed. Reg. 42169, 42170 (Aug. 1, 2007). FINRA is the
        only RSA. FINRA is also a self-regulatory organization (“SRO”)
        by virtue of the fact that is an RSA. 15 U.S.C. § 78c(a)(26).



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        seq. 2       When FINRA believes a member has violated “any rule,

        regulation,          or     statutory           provision,      including          the    federal

        securities           laws       and       the     regulations        thereunder,”           FINRA

        Rule 9211,         it     begins      a    disciplinary        proceeding       by       filing   a

        complaint against the member.                          Id. 9212.         If the respondent

        requests, FINRA will hold a hearing, after which a Hearing Panel

        will issue a written decision.                         Id. 9221, 9268.        The respondent

        or FINRA may appeal the Hearing Panel’s decision to the National

        Adjudicatory Council (“NAC”), a FINRA committee.                               Id. 9311.          An

        appeal       to    the    NAC    acts       as    a     stay   of   the      Hearing      Panel’s

        decision.          Id. 9311(b).            The NAC may affirm, modify, reverse,

        dismiss, or remand the Hearing Panel’s decision.                                   Id. 9349(a).

        The NAC’s decision (or the Hearing Panel’s decision if there was

        no   appeal)        is    FINRA’s         final   action       unless     FINRA’s        Board    of

        Governors calls for review.                     Id. 9351.

                 Review of final FINRA action invokes the SEC’s role under

        the Exchange Act in overseeing FINRA’s authority to discipline

        members.          FINRA must “promptly file notice” with the SEC when it

        “imposes       any      final    disciplinary           sanction”       on   any    member       and

        FINRA members may appeal adverse final FINRA actions to the SEC

        for review.          15 U.S.C. § 78s(d)(1), (2).                    An appeal to the SEC

                 2
               FINRA Rules are not published in the Code of Federal
        Regulations        but        can       be        found        at
        http://finra.complinet.com/en/display/display.html?rbid=2403&ele
        ment_id=607.


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        “shall stay the effectiveness of any sanction, other than a bar

        or an expulsion.”             FINRA Rule 9370(a).           The SEC, upon its own

        motion or by appeal from the member, “shall” then review FINRA’s

        decision to ensure any rule allegedly violated was “applied in a

        manner[]       consistent      with   the    purposes”      of     the   Exchange         Act.

        15 U.S.C. § 78s(e)(1)(A).               The SEC can affirm, modify, or set

        aside FINRA’s decision or remand for further proceedings.                                   Id.

        § 78s(e)(1).        If, after SEC review, a party remains “aggrieved,”

        it     “may    obtain    review”      of    the     SEC’s       final    order       in    the

        appropriate court of appeals.               Id. § 78y(a)(1); see also Bennett

        v. SEC, No. 15-2584, slip op. at 3 (argued Oct. 28, 2016).                                 With

        this      judicial-review       scheme      in    mind,    we     turn   to     the       FINRA

        proceeding at issue here.

                                                    C.

               On May 15, 2015, FINRA initiated a disciplinary proceeding

        against Scottsdale, alleging it had liquidated over 74 million

        shares of unregistered stocks in violation of Section 5 of the

        Securities       Act,    15    U.S.C.      § 77e(a).            According      to    FINRA’s

        complaint,       Scottsdale’s      violation        of    the    Securities         Act    also

        violated FINRA Rule 2010, which requires members to “observe

        high      standards     of    commercial         honor    and    just    and     equitable

        principles of trade.”              FINRA Rule 2010.               Scottsdale filed a

        motion for summary disposition with the FINRA Hearing Panel,

        alleging, inter alia, that FINRA did not have jurisdiction to

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        bring the proceeding because it can only charge violations of

        the Exchange Act, not the Securities Act.                           The Hearing Panel

        denied the motion and scheduled a hearing for June 13–24, 2016.

              Scottsdale then filed for declaratory and injunctive relief

        in   the      United       States      District       Court   for    the     District   of

        Maryland,        alleging,        as     it     had     before      FINRA,     that     the

        disciplinary proceeding was ultra vires.                        FINRA filed a motion

        to dismiss for lack of subject-matter jurisdiction and failure

        to state a claim.

              On April 26, 2016, the district court held a hearing on the

        motion to dismiss.             Assuming without deciding that Scottsdale

        had a cause of action under the Exchange Act, the district court

        nonetheless found it “clear” that “Congress intended to channel

        judicial       review      through     th[e]    comprehensive       scheme”     found    in

        15 U.S.C. §§ 78s and 78y.                J.A. 176.        “The question of whether

        the . . . FINRA rules that are involved here are within their

        authority       and    appropriate,”          the    district    court     reasoned,     is

        “clearly within” the review scheme outlined in the Exchange Act.

        J.A. 176–77.           The district court relied on Thunder Basin Coal

        Company v. Reich, 510 U.S. 200 (1994), to dismiss the complaint,

        finding it “beyond the subject matter jurisdiction” of the court

        to    consider         a     challenge         “to     the    ongoing        disciplinary

        proceeding.”          J.A. 178.      Scottsdale appeals.



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                                                      II.

                                                      A.

               Scottsdale argues FINRA exceeded its authority by charging

        it with violations of the Securities Act and, therefore, the

        proceeding is ultra vires.                FINRA counters that, as a threshold

        matter,         Scottsdale     must    first       press   its    claim     through     the

        administrative process and then seek review in the appropriate

        court of appeals.              We review a district court’s dismissal of a

        complaint        for    lack    of    subject-matter        jurisdiction        de     novo.

        Nat’l Taxpayers Union v. U.S. Soc. Sec. Admin., 376 F.3d 239,

        241 (4th Cir. 2004).

                                                      B.

               Article III courts are “courts of limited jurisdiction,”

        possessing         “only     that     power    authorized        by    Constitution     and

        statute.”         Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

        375,      377    (1994).       “Congress      may,    in   its        discretion,     grant,

        withhold,        or    otherwise      limit    the    jurisdiction         of   the   lower

        federal courts.”             Wade v. Blue, 369 F.3d 407, 410 (4th Cir.

        2004).       We are bound by those limitations unless they offend the

        Constitution.          See Bowles v. Russell, 551 U.S. 205, 212 (2007).

               Notwithstanding the exclusive grant of jurisdiction to the

        courts of appeals in the Exchange Act, Scottsdale argues the

        district court had jurisdiction to consider its claim because

        FINRA lacked authority to initiate the disciplinary proceeding.

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        Scottsdale believes it need not, as it describes it, exhaust

        administrative remedies before seeking review in this court for

        two reasons. 3        First, Scottsdale claims the limited exception to

        jurisdiction-stripping recognized in Leedom v. Kyne, 358 U.S.

        184 (1958), applies because FINRA is allegedly acting outside of

        its statutory authority.            Alternatively, Scottsdale asserts its

        claim      is   not   of   the   type   Congress   intended   to   remove    from

        district court jurisdiction under the framework articulated in

        Thunder Basin.          We discuss each claim in turn.

                                                 C.

                                                 1.

              Scottsdale first argues the district court had jurisdiction

        under Leedom.         Leedom involved a challenge to the National Labor

        Relations Board’s (“NLRB”) decision--in direct violation of the

        National        Labor      Relations    Act   (“NLRA”)--to     include       both

              3 Scottsdale incorrectly frames the issue as one of
        exhaustion.    We agree with the district court and the SEC as
        amicus that the district court is not the proper forum for
        Scottsdale’s claim.       Exhaustion is a temporal concern--the
        inquiry is when, not whether, a plaintiff may bring a claim.
        Requiring a plaintiff to first exhaust administrative remedies
        avoids   the   “premature   interruption  of   the  administrative
        process.”    McKart v. United States, 395 U.S. 185, 193 (1969).
        However,   when   Congress    creates  a  statutory  scheme   that
        unambiguously vests judicial review of agency action in the
        courts of appeals, “those procedures ‘are to be exclusive’”
        unless a plaintiff can show its claims are not of the type
        Congress intended to limit.        Free Enter. Fund v. Pub. Co.
        Accounting Oversight Bd., 561 U.S. 477, 489 (2010) (quoting
        Whitney Nat. Bank in Jefferson Parish v. Bank of New Orleans &
        Trust Co., 379 U.S. 411, 420 (1965)).


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        professional     and      nonprofessional          employees   in    a     collective

        bargaining unit.          358 U.S. at 184–86.            Before the Court, the

        NLRB conceded that it “had acted in excess of its powers and had

        thereby    worked      injury        to    the     statutory   rights”       of    the

        petitioners.        Id.    at    187.      Even     though   the    NLRA    precluded

        district court jurisdiction of such an action, the Supreme Court

        held that the district court had jurisdiction because the NLRB

        had acted “in excess of its delegated powers and contrary to a

        specific prohibition in the Act.” 4                Id. at 188 (emphasis added).

        In such a case, the Court reasoned, the suit is not to “review”

        as the term is used in the governing statute because the agency

        has acted without authority.              Id.

              Scottsdale contends that, similar to the action in Leedom,

        FINRA has exceeded its delegated authority, thereby removing the

        statutory bar to jurisdiction.                  However, such a reading extends

        Leedom     beyond      its       “painstakingly         delineated         procedural

        boundaries.”        Boire       v.   Greyhound      Corp.,   376    U.S.    473,   481

        (1964).     Leedom relied on the presumption that when “Congress


              4The NLRA provision at issue stated “the Board shall not
        (1) decide that any unit is appropriate for such purposes if
        such unit includes both professional employees and employees who
        are not professional employees unless a majority of such
        professional employees vote for inclusion in such unit.”
        Leedom, 358 U.S. at 185.     The NLRB included professional and
        nonprofessional employees in the unit and refused to hold a vote
        to allow professional employees to agree to inclusion.       Id.
        at 186.


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        has given a ‘right’ . . . it must be held that it intended that

        right         to        be     enforced”         and      that      intention       supersedes

        congressional                jurisdiction-stripping           provisions.               358     U.S.

        at 191.            If    the    district     court       in   Leedom       did    not    exercise

        jurisdiction,            petitioners       would       have   “no    other       means,       within

        their control, . . . to protect and enforce” a congressionally

        given right.                 Id. at 190.         By contrast, Scottsdale does not

        identify a congressionally authorized right of action. 5

                 Leedom is also factually distinguishable in that FINRA does

        not concede that it acted in excess of its statutory authority.

        Before the district court and on appeal, FINRA maintains it has

        authority          to    sanction     members       for    violations        of    all    federal

        securities laws, including the Securities Act.                                    Finally, and

        crucial        to       the    decision    in     Leedom,        Scottsdale       has    ultimate

        recourse to the federal courts through 15 U.S.C. § 78y.                                       Leedom

        is   a       narrow      exception,       used    only     when     “but    for    the    general

        jurisdiction of the federal courts there would be no remedy” for

        a congressionally authorized private right of action.                               Id. 6


                 5
               We share the district court’s doubt that Scottsdale has
        identified a private right of action to bring this claim.  See
        Alexander v. Sandoval, 532 U.S. 275, 293 (2001).

                 6
                Further, the Supreme Court foreclosed Scottsdale’s
        expansive interpretation of Leedom in Board of Governors of the
        Federal Reserve System v. MCorp Financial, Inc., 502 U.S. 32
        (1991). In MCorp, the Fifth Circuit exercised jurisdiction over
        a claim despite a jurisdiction-stripping provision because it
        (Continued)
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                                                2.

              In addition to being procedurally and factually dissimilar

        to Leedom, Scottsdale cannot satisfy this court’s two-pronged

        test to invoke the Leedom exception.                 To do so, a petitioner

        must make (1) a “strong and clear demonstration that a clear,

        specific and mandatory [statutory provision] has been violated,”

        Long Term Care Partners, LLC v. United States, 516 F.3d 225, 234

        (4th Cir. 2008) (quoting Newport News Shipbuilding & Dry Dock

        Co. v. NLRB, 633 F.2d 1079, 1081 (4th Cir. 1980)), and (2) “the

        absence    of   federal   court   jurisdiction        over     an    agency     action

        ‘would wholly deprive’ the aggrieved party ‘of a meaningful and

        adequate    means   of    vindicating    its       statutory    rights.’”          Id.

        at 233 (quoting Bd. of Governors of Fed. Reserve Sys. v. MCorp

        Fin., Inc., 502 U.S. 32, 43 (1991)).                 After considering these

        criteria, we conclude that the Leedom exception does not apply.

              First,     FINRA     has    not    violated       a      clear         statutory

        prohibition.     “When a party invokes Leedom as the basis for this

        court’s    jurisdiction,     we   conduct      a    ‘cursory        review    of   the




        read Leedom to “authoriz[e] judicial review of any agency action
        that is alleged to have exceeded the agency’s statutory
        authority.”   Id. at 43. The Supreme Court reversed, rejecting
        such a broad reading of Leedom because the statute at issue in
        MCorp--like the Exchange Act--provided “meaningful and adequate
        opportunity for judicial review.”      Id.    The Court further
        clarified that the lack of judicial review--and not the agency’s
        alleged actions--was the “central” factor in Leedom. Id.


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        merits’ to determine if the agency acted ‘clearly beyond the

        boundaries of its authority.’”            Id. at 234 (quoting Champion

        Int’l Corp. v. EPA, 850 F.2d 182, 186 (4th Cir. 1988)).               So long

        as the agency’s interpretation of the statute is “‘plausible’

        . . .     we will find that it did not ‘violate a clear statutory

        mandate.’”     Id. (quoting Hanauer v. Reich, 82 F.3d 1304, 1311

        (4th Cir. 1996)). 7

              Scottsdale points to numerous references in the Exchange

        Act that limit the authority of FINRA to discipline members for

        violations of “this chapter,” that is, the Exchange Act.                   See,

        e.g.,     15   U.S.C.   § 78o-3(b)(2).        Scottsdale     argues     these

        provisions delimit FINRA’s authority to charge only violations

        of the Exchange Act.       FINRA counters that the Exchange Act also

        authorizes it to enact its own rules and enforce compliance.

        See id. (“Such association is so organized . . . to enforce

        compliance . . . with the provisions of this chapter . . . and


              7Although we style our application of Leedom in terms of
        agency interpretation, FINRA is not an agency.          The SEC
        participated in this litigation as amicus but declined to take a
        position on the merits since Scottsdale raises the same claim in
        the ongoing FINRA proceedings, which the SEC will likely review.
        Amicus Br. at 4.      However, the SEC has implicitly adopted
        FINRA’s interpretation of its authority to sanction members for
        violations of the Securities Act.   See, e.g., In re ACAP Fin.,
        Inc., Exchange Act Release No. 70046, 2013 WL 3864512, at *7
        (July 26, 2013) (affirming FINRA’s decision to charge a member
        who sold unregistered securities in violation of the Securities
        Act with violating NASD Rule 2110, the predecessor rule to FINRA
        Rule 2010).


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        the    rules     of     the    association.”).              According      to   FINRA,    if

        Congress did not intend for it to have authority to enact rules

        for securities violations beyond the Exchange Act, it would be

        unnecessary for the statute to also mention both the rules of

        the statute and the association (i.e., FINRA).                             FINRA further

        asserts that grounding violations of the Securities Act in its

        Rule 2010 is an exercise of its statutory authority to “promote

        just and equitable principles of trade [and] foster cooperation

        and coordination with persons engaged in regulating, clearing,

        settling       . . . and       facilitating        transactions       in    securities.”

        Id. § 78o-3(b)(6).            We find this interpretation plausible.                     Long

        Term    Care,     516     F.3d    at    235.         Moreover,     the     Exchange      Act

        provisions       that     Scottsdale         cites     do    not   clearly       proscribe

        FINRA’s actions in the same way that the NLRB acted contrary to

        a    direct    prohibition       of    the    NLRA    in    Leedom.        Therefore,     we

        conclude FINRA has not violated a clear statutory mandate.

               Scottsdale also cannot satisfy the second criterion because

        the Exchange Act provides Scottsdale a “meaningful and adequate

        opportunity for judicial review” of its claims.                         MCorp, 502 U.S.

        at    43.      Congress       established      a     comprehensive       system   whereby

        Scottsdale can appeal an adverse FINRA decision to the SEC and a

        final adverse SEC decision in the appropriate court of appeals.

        15 U.S.C. §§ 78s, 78y; see also Bennett, No. 15-2584, slip op.

        at 20–26.

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              Because FINRA’s interpretation of its authority to charge

        its members with violations of the Securities Act is plausible

        and the Exchange Act provides for meaningful judicial review,

        the Leedom exception does not apply.          In so holding, we have not

        decided the “ultimate merits,” Long Term Care, 516 F.3d at 234–

        35, of FINRA’s position, but simply conclude that Scottsdale’s

        claim   does   not   fall   within   the   “narrow    limits”   of   Leedom.

        Boire, 376 U.S. at 481.

                                             D.

              Scottsdale next argues that, even if Leedom does not apply,

        and     notwithstanding        the     comprehensive       judicial-review

        provisions, Congress did not intend to strip district courts of

        jurisdiction over this particular type of claim.             When deciding

        whether a particular claim falls outside of the congressionally

        enacted review scheme, we employ the two-step analysis outlined

        in Thunder Basin.       First, we ask whether Congress’s intent to

        divest district courts of jurisdiction is “fairly discernible”

        from the statute’s text, structure, and purpose.            Thunder Basin,

        510 U.S. at 207 (quoting Block v. Cmty. Nutrition Inst., 467

        U.S. 340, 351 (1984); see also Bennett, No. 15-2584, slip op.

        at 19).    Neither party disputes that it is “fairly discernible”

        that Congress intended to preclude district court jurisdiction.

        See Appellant’s Br. at 27.



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               We therefore turn to step two of Thunder Basin and ask

        whether Scottsdale’s “claims are of the type Congress intended

        to    be   reviewed   within      this      statutory      structure.”        510    U.S.

        at 212.      This claim-specific analysis considers three factors:

        (1)   whether   “adjudication          of   petitioner’s       claims     through     the

        statutory-review           provisions       will     violate       due    process     by

        depriving petitioner of meaningful judicial review”; (2) whether

        the    claims   are    “wholly     collateral”        to    the    statute’s    review

        provisions;     and   (3)     whether       the    claims    are   “outside     of    the

        agency’s expertise.”             Id. at 212–14.            Applying each of these

        factors to Scottsdale’s claim, we agree with the district court

        that the Exchange Act’s “administrative structure was intended

        to preclude district court jurisdiction over petitioner’s claims

        and that those claims can be meaningfully reviewed through that

        structure consistent with due process.”                   Id. at 218.

               First,   Scottsdale       can    obtain     meaningful      judicial    review.

        The Exchange Act sets out a comprehensive review scheme through

        which Scottsdale could have ultimate judicial review in this

        court.      15 U.S.C. § 78y.            Scottsdale contends post-proceeding

        judicial review is inadequate for two reasons: (1) forcing it to

        submit to an allegedly unauthorized proceeding before seeking

        Article III judicial review will cause irreparable harm; and

        (2) there     will    be    no   appeal      to    this    court   if    it   prevails.

        Neither contention has merit.

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              Scottsdale’s desire to “prevent the per se irreparable harm

        of   being    forced    to    submit        to    the    orders       of    an    organization

        acting       beyond     the        limits        of     its     statutory           authority,”

        Appellant’s      Br.    at     28–29,       conflicts          with     the      long-standing

        principle that “the expense and annoyance of litigation is ‘part

        of the social burden of living under government.’”                                    Bennett,

        slip op. at 22 (quoting FTC v. Standard Oil of Cal., 449 U.S.

        232, 244 (1980)).         The same is true of Scottsdale’s allegations

        of potential reputational harm.                   See Sampson v. Murray, 415 U.S.

        61, 89 (1974).

              Scottsdale’s concern that it will be unable to press its

        claims if it prevails before FINRA also lacks merit.                                      Federal

        regulations       “specifically             provide[]”          mechanisms           by        which

        Scottsdale      could    challenge          FINRA       Rule     2010       outside       of    the

        disciplinary      proceeding.               Standard      Oil,        449     U.S.    at       245.

        Scottsdale could petition the SEC--apart from any disciplinary

        action--to      amend   or     repeal       FINRA       Rule    2010.         See    17    C.F.R.

        § 201.192.       The SEC’s decision on FINRA’s rule would be final

        agency action of which Scottsdale could then seek review in the

        appropriate      court        of     appeals.            15     U.S.C.        § 78y.             And

        Scottsdale’s position is wholly unlike that of the petitioners

        in Free Enterprise: Scottsdale is not required to “‘challenge a

        Board rule at random’ or ‘bet the farm’ by voluntarily incurring

        a    sanction     in     order        to     trigger           § 78y’s        mechanism         for

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        administrative and judicial review.”                              Bennett, No. 15-2584, slip

        op.    at    10    (quoting          Free    Enter.         Fund     v.    Pub.       Co.    Accounting

        Oversight Bd., 561 U.S. 477, 490 (2010)).

               Turning to the second Thunder Basin factor, Scottsdale’s

        claims      are     not       wholly       collateral          to   the    Exchange              Act.     In

        Bennett, we explained that a claim is not wholly collateral when

        it    is    “‘the      vehicle       by     which      [petitioners]            seek        to    reverse’

        agency action.”               Bennett, No. 15-2584, slip op. at 26 (quoting

        Elgin      v.   Dep’t        of     Treasury,       132      S.     Ct.    2126,       2139       (2012)).

        Scottsdale challenges “FINRA’s statutory authority to prosecute

        disciplinary           actions        premised         on      alleged         violations          of    the

        Securities Act.”               Appellant’s Br. at 30.                     As Scottsdale’s claim

        arises      out        of     the    proceeding           against         it    and     provides           an

        affirmative defense, it is not wholly collateral to the statute.

               Finally,             Congress       has    expressly           determined             the        SEC’s

        expertise is relevant to the claim at issue here.                                            Scottsdale

        argues       its       claim,        like        the      petitioners’               claim        in     Free

        Enterprise, is outside of the SEC’s “competence and expertise.”

        561    U.S.       at    491.          In    Free       Enterprise,             the    Supreme           Court

        permitted a petitioner to bring a pre-enforcement constitutional

        challenge         to    the       existence       of     the      Public       Company       Accounting

        Oversight         Board       despite       Congress’s            intent       to     channel          claims

        through the statutory scheme laid out in § 78y.                                          Id. at 490.

        The Free Enterprise Court held that agency expertise was not

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        required       because      the     claims           did     “not        require          ‘technical

        considerations of [agency] policy,’” id. at 491 (quoting Johnson

        v.    Robinson,      415    U.S.    361,    373           (1974)),       but       were    “standard

        questions      of    administrative         law,          which    the     courts         are   at   no

        disadvantage in answering.”             Id.

               Scottsdale’s argument that this claim lies outside of the

        agency’s expertise is belied by the text of the Exchange Act.

        Section      19     of    the    Exchange           Act     lays     out       a    comprehensive

        oversight scheme whereby Congress gives the SEC the authority to

        supervise FINRA’s rules, including approving or modifying FINRA

        rules   in     any   way    the    agency       deems        appropriate            or    necessary.

        15 U.S.C. § 78s.                As part of the SEC’s oversight of FINRA,

        Congress       vested      authority       in       the     SEC      to    review          “a   final

        disciplinary sanction imposed by” FINRA and determine whether

        its    rules      “were    applied     in       a    manner[]        consistent            with      the

        purposes” of the Exchange Act.                       15 U.S.C. § 78s(e)(1).                     Thus,

        Congress       unambiguously        channeled              Scottsdale’s            claim--whether

        FINRA has exceeded its authority in charging Scottsdale--to the

        SEC for determination in the first instance.                                   Considering all

        three Thunder Basin factors, we conclude that the district court

        lacked jurisdiction over Scottsdale’s claim.




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                                                 III.

              When Congress provides a comprehensive review scheme our

        judicial    review      must   comport    with       those   statutory    provisions

        unless    doing    so    would   violate       the    Constitution.        Congress,

        through    the    Exchange     Act,   intended        to   channel   objections    to

        FINRA’s authority through the agency and the courts of appeals.

        In so doing, it is clear Congress sought to preclude federal

        district-court       jurisdiction.         Because         Scottsdale    can   obtain

        meaningful judicial review of its claim in this court following

        the appeal process outlined in the Exchange Act, we hold its

        challenge to FINRA’s authority is the type of claim Congress

        intended     to     be     reviewed       within       the     statutory       scheme.

        Accordingly, the district court properly dismissed for lack of

        subject-matter jurisdiction.             For these reasons, the judgment of

        the district court is

                                                                                   AFFIRMED.




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